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                                   CERTIFICATE OF SERVICE

          I, Gregory J. Flasser, hereby certify that on this 3rd day of October 2019, I caused copies

of the Limited Objection to Debtor’s Notice of Assumption, Assignment and Cure Amount

with Respect to Executory Contracts and Unexpired Leases of the Debtors to be served on

the parties listed below via first class mail.

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                                 /s/ Gregory J. Flasser
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